Case:18-01403-KHT Doc#:59 Filed:09/28/20         Entered:09/28/20 07:20:11 Page1 of 8


                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:

 JOSEPH D. MASSA and                            Case No. 18-17322 KHT
 RONDA E. MASSA,                                Chapter 7

      Debtors.


 PROFORCE STAFFING, INC.,
                                                Adversary No. 18-01403 KHT
      Plaintiff,

 v.

 JOSEPH D. MASSA and
 RONDA E. MASSA,

      Defendants.


                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

      THIS MATTER came before the Court for trial on the Complaint filed by Plaintiff
ProForce Staffing, Inc. (“ProForce”) and the Answer filed by Defendants Joseph D. Massa
and Ronda E. Massa (together, “Debtors”). At the conclusion of the trial, the Court took
the matter under advisement. The Court is now prepared to rule, and hereby finds and
concludes as follows:

I.        JURISDICTION

       This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157
and 1334. This is a core proceeding within 28 U.S.C. § 157(b)(2)(I) because it involves
a determination as to the dischargeability of Debtors’ debt to ProForce.

II.       FACTUAL BACKGROUND

       Debtor Joseph D. Massa formed JDE, LLC in June of 2009. Mr. Massa was the
LLC’s sole member and manager. The business focused on low-voltage electrical work,
the area of Mr. Massa’s expertise. Mr. Massa’s wife, Debtor Ronda E. Massa, had no
involvement with the LLC.

       By 2015, Mr. Massa decided to expand his business beyond low voltage work, to
include all electrical work. He dissolved JDE, LLC, and formed JDE, Inc. (“JDE”).
Mr. Massa served as JDE’s president. He hired a master electrician, Rick Lyons, to serve
Case:18-01403-KHT Doc#:59 Filed:09/28/20                 Entered:09/28/20 07:20:11 Page2 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

as Director of Electrical Operations, with responsibility for running the non-low-voltage
electrical projects. Mr. Massa deferred to Mr. Lyons on all aspects of the company’s (non-
low-voltage) electrical projects.

        By 2017, JDE had been retained as a subcontractor on four large electrical
projects. Its employees had increased from 6 to 60. In order to provide appropriate
staffing on the projects, JDE entered into a contract with ProForce, pursuant to which
ProForce provided skilled laborers such as electricians to JDE’s construction projects.

        JDE struggled to keep up with its growth. Ms. Massa, who was JDE’s Vice
President, increased her involvement in the company. But, she did not have the financial
training or experience needed to manage the company’s finances. Both Mr. and
Ms. Massa expected JDE’s CFO and finance department to manage the finances without
the Massas’ active involvement.

       In March of 2017, JDE’s CFO, Joanna Aaron, was relieved of her duties. After
Ms. Aaron’s departure, Mr. Massa needed help with the company’s finances. He turned
to his friend Mike Hurdle, a CPA with construction experience, for advice. At first,
Mr. Hurdle offered advice to Ms. Aaron’s replacement, but that person resigned shortly
after she was hired. At Mr. Hurdle’s recommendation, JDE hired Trinity Financial to
perform financial services for JDE. By April 2017, Mr. Hurdle was actively participating in
JDE’s financial decisions and serving as JDE’s CFO.1

       Although Mr. and Ms. Massa deferred to Mr. Hurdle and Trinity Financial on JDE
financial matters, both were involved with JDE’s finances and both were generally aware
of JDE’s financial situation. Ms. Massa’s involvement with JDE included running the
weekly payroll (which required her to input employee timesheet information into
Quickbooks, generate checks, distribute the checks to the employees), and making bank
deposits. She also assisted with pay applications and lien waivers as needed.

       Mr. Hurdle recommended JDE obtain financing to help its cash flow, and he
assisted with efforts to obtain financing. Mr. Hurdle was familiar with the requirements of
Colorado’s Mechanics’ Lien Trust Fund Statute, which mandates all funds disbursed to a
contractor must be held in trust for payment to subcontractors and suppliers on that
project. Despite this, during the time Mr. Hurdle served as CFO, JDE failed to comply
with those requirements and funds were not maintained in separate, per-project basis
accounts.

       Mr. Hurdle worked with JDE’s contractors as well as its subcontractors and
suppliers to facilitate payments. For example, on May 10, 2017, Mr. Hurdle asked a
representative of Taylor Kohrs, one of the contractors for whom JDE performed electrical
work as a subcontractor, to issue a joint check to JDE and supplier GexPro. The Taylor
Kohrs representative asked for more information about the amount owed to the supplier

1
  See Defendants’ Exhibit B (April 14, 2017, email from Mr. Hurdle listing his title as CFO). Mr. Hurdle
testified he was merely an unpaid consultant although Mr. Massa testified Mr. Hurdle was paid for his
services, perhaps through Trinity Financial. The Court need not determine whether Mr. Hurdle was paid;
what is relevant is he served as CFO and participated actively in the company’s financial decisions.

                                                   2
Case:18-01403-KHT Doc#:59 Filed:09/28/20                    Entered:09/28/20 07:20:11 Page3 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

and about lien waivers from other subcontractors. Mr. Hurdle responded: “We owe them
more than what [sic] owe us.” The Taylor Kohrs representative replied Mr. Hurdle had
not answered her question, and she forwarded the email to Taylor Kohrs project manager
Scott Heasty, who emailed Mr. Massa:

          Please see below. This is not being properly handled.

          Give me a call to discuss. We’re trying to get you released but it appears
          vendors have not been released from JDE for prior amounts that we’ve paid
          you . . . . That’s a problem, [it’s] referred to as “trust fund”.

          I’m certain it will all shake out, but we’re at an impasse right now. Give me
          a call, thanks!

Exhibit 44. Mr. Massa forwarded the email to Mr. Hurdle. Mr. Massa testified he paid
little attention to the email and was generally unfamiliar with the requirements of the Trust
Fund Statute. Mr. Hurdle testified that after receiving the email, he explained the
requirements of the Trust Fund Statute to Mr. and Ms. Massa.

       Mr. Hurdle and the Massas worked together to obtain financial projections broken
down by specific projects and to obtain financing for JDE on that basis. In July, they
believed a bank would provide the needed financing, but that financing fell through at the
end of July or beginning of August.

       After JDE was unable to obtain financing, Mr. Hurdle assisted with efforts to sell
the company. Ultimately, Mr. Hurdle decided to buy the electrical side of the company,
with Mr. Massa retaining the low-voltage work with which he was more familiar. Toward
that end, Mr. Massa formed JDE Fire and Security, and Mr. Hurdle became the sole owner
of JDE. The sale took place in mid-August 2017.

        Shortly after the sale to Mr. Hurdle, JDE did not make payroll, and the employees
quit leaving JDE’s projects incomplete. Subcontractors and suppliers were not paid and
the ProForce contract was terminated abruptly leaving ProForce owed $10,313.09 for
outstanding invoices on the Vanguard Green Gables Project, for which JDE had been
paid $947,905.69, and ProForce owed $91,211.02 for outstanding invoices on the BGE
Project,2 for which JDE had been paid $283,862.85.3

      The Massas were surprised and frustrated to see JDE shut down, with projects
unperformed and subcontractors and suppliers unpaid. They spent months afterward
attempting to address the problems.4 Their reputation suffered, and JDE Fire and
2
 Other JDE subcontractors and suppliers remained unpaid on the BGE Project, and some filed liens for
which BGE sued JDE, Mr. Hurdle, and Mr. and Ms. Massa in Colorado state court and in this Court. The
parties settled the BGE lawsuits.
3
 The Court previously determined these amounts on ProForce’s Motion for Summary Judgment. See
Order on Motion for Summary Judgment (docket #23).
4
    Exhibit 33 references some of Ms. Massa’s efforts to obtain payment from Taylor Kohrs to ProForce.

                                                     3
Case:18-01403-KHT Doc#:59 Filed:09/28/20                Entered:09/28/20 07:20:11 Page4 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

Security was unable to obtain low-voltage electrical projects. By the time Mr. Hurdle came
to JDE offices in January 2018 to pick up files, Mr. Hurdle and Mr. Massa were not
speaking to each other.

       Mr. Hurdle filed a voluntary Chapter 7 bankruptcy petition in April 2018. Mr. and
Ms. Massa filed their voluntary Chapter 7 bankruptcy petition in August 2018. ProForce
timely filed the above-captioned adversary proceeding against Mr. and Ms. Massa,
asserting JDE’s failure to hold funds received on the Vanguard Green Gables Project and
the BGE Project constitutes a violation of the Trust Fund Statute, for which Mr. and
Ms. Massa are personally liable. ProForce further asserts the Massas’ debt is
nondischargeable under 11 U.S.C. § 523(a)(4),5 as fraud or defalcation while acting in a
fiduciary capacity.

III.   DISCUSSION

        Section 523(a)(4) provides a discharge exception for debts obtained by “fraud or
defalcation while acting in a fiduciary capacity, embezzlement, or larceny.” ProForce
must establish (a) a fiduciary relationship existed between ProForce and each Debtor,
and (b) each Debtor committed a defalcation of that fiduciary relationship, acting with the
requisite mental state. Fowler Bros. v. Young (In re Young), 91 F.3d 1367, 1371 (10th
Cir. 1996); Bullock v. BankChampaign, N.A., 569 U.S. 267, 273–74 (2013). The Court
will discuss each element below, mindful that ProForce, as the Plaintiff, bears the burden
of proof of each required element, and that “exceptions to discharge are to be narrowly
construed, and because of the fresh start objectives of bankruptcy, doubt is to be resolved
in the debtor’s favor.” Bellco First Fed. Credit Union v. Kaspar (In re Kaspar), 125 F.3d
1358, 1361 (10th Cir. 1997) (applying Section 523(a)(2)(B)).

       A. Fiduciary Relationship.

       Whether a debtor is a fiduciary is a matter of federal law, although state law is
relevant to the inquiry. Fowler Bros. v. Young (In re Young), 91 F.3d 1367, 1371 (10th
Cir. 1996). In the context of Section 523(a)(4), the term “fiduciary” has a narrow meaning
and requires either an express trust or a technical trust. See Horejs v. Steele (In re
Steele), 292 B.R. 422, 434 (Bankr. D. Colo. 2003).

       A technical trust can arise as a result of a state statute imposing specific trust
duties with respect to a specific trust res. Griego v. Gonzales (In re Gonzales), 483 B.R.
1, 11-12 (Bankr. D.N.M. 2012). ProForce relies on the Trust Fund Statute, Colo. Rev.
Stat. § 38-22-127, which has been held to create a trust sufficient to establish a fiduciary
relationship for purposes of Section 523(a)(4). See Fowler & Peth, Inc. v. Regan (In re
Regan), 477 F.3d 1209, 1211, n.1 (10th Cir. 2007).

       In order to impose personal liability under the Trust Fund Statute, the Court must
find each Debtor controlled corporate finances and made corporate financial decisions.

5
  Future references to sections are to those of the Bankruptcy Code, 11 U.S.C. § 101, et seq., unless
otherwise indicated.

                                                 4
Case:18-01403-KHT Doc#:59 Filed:09/28/20             Entered:09/28/20 07:20:11 Page5 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

See Alexander Co. v. Packard, 754 P.2d 780, 782 (Colo. Ct. App. 1988); Flooring Design
Assocs., Inc. v. Novick, 923 P.2d 216, 221 (Colo. Ct. App. 1995). The Court previously
granted summary judgment in favor of ProForce on the issue of whether Mr. Massa had
sufficient control over corporate finances and corporate financial decisions to fall within
the Trust Fund Statute. See Order on Motion for Summary Judgment (docket #23).

        Having considered the evidence at trial, the Court now finds Ms. Massa also had
sufficient control over corporate finances and corporate financial decisions that she falls
within the Trust Fund Statute. She ran payroll, issued and signed checks, signed pay
applications, signed lien waivers, worked to collect accounts receivable and pay accounts
payable, and worked on budgeting with Mr. Massa, as reflected in her email to Trinity
Financial (Exhibit 27). The Court, therefore, finds both Mr. and Ms. Massa had a fiduciary
duty to ProForce, under the terms of the Trust Fund Statute, for purposes of
Section 523(a)(4).

       B. Defalcation and Mental State.

        As the Supreme Court held in Bullock v. BankChampaign, N.A., 569 U.S. 267, 273-
74 (2013), a plaintiff asserting nondischargeability under Section 523(a)(4) must establish
the defendant acted with a specific mental state, either actual knowledge of wrongdoing,
or “reckless conduct of the kind that the criminal law often treats as the equivalent,”
including actions where the fiduciary “‘consciously disregards’ (or is willfully blind to) ‘a
substantial and unjustifiable risk’ that his conduct will turn out to violate a fiduciary duty.”
Id. (quoting ALI, Model Penal Code § 2.02(2)(c), at 226, and § 2.02 Comment 9, at 248
(1985) (explaining that the Model Penal Code’s definition of “knowledge” was designed
to include “willful blindness”)). The substantial and unjustifiable risk “‘must be of such a
nature and degree that, considering the nature and purpose of the actor’s conduct and
the circumstances known to him, its disregard involves a gross deviation from the
standard of conduct that a law abiding person would observe in the actor’s situation.’” Id.
(quoting ALI, Model Penal Code § 2.02(2)(c), at 226). The Court will discuss separately
the mental state of Ms. Massa and that of Mr. Massa.

           1. Ms. Massa.

       The Court turns first to Ms. Massa. She was a schoolteacher with limited business
and financial experience in general, and no experience in JDE’s business or finances,
until JDE’s explosive growth in 2017. During 2017 she became sufficiently involved to
have liability for purposes of the Trust Fund Statute, but the degree of her involvement
was much less than that of Mr. Massa or Mr. Hurdle. Mr. Hurdle testified he explained
the Trust Fund Statute to both Mr. and Ms. Massa, but the extent of his explanation is not
clear. The emails offered to show Mr. Massa’s familiarity with the Trust Fund Statute
were not sent to Ms. Massa. The conversation Mr. Hurdle testified to having with
Mr. Massa, offered to show Mr. Massa’s conscious disregard of the Trust Fund Statute,
did not include Ms. Massa. And, while Ms. Massa may have been familiar with the
concept that an unpaid contractor or supplier could file a lien, and contractors or suppliers
who had been paid could execute lien waivers, this does not show she understood the
Trust Fund Statute’s requirement that all funds be held in trust for payment of

                                               5
Case:18-01403-KHT Doc#:59 Filed:09/28/20           Entered:09/28/20 07:20:11 Page6 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

subcontractors and suppliers.

       Considering all the evidence before it, the Court cannot find ProForce has met its
burden of proving Ms. Massa was aware of her fiduciary responsibilities under the Trust
Fund Statute. In the absence of such awareness, the Court cannot find she had actual
knowledge of wrongdoing in JDE’s failure to maintain funds in trust. Further, the Court
cannot find Ms. Massa engaged in reckless conduct equivalent to knowledge. The Court
finds at all relevant times, Ms. Massa maintained an honest, good faith belief that
subcontractors and suppliers, including ProForce, would be paid, and she worked to
accomplish that result. ProForce has not shown Ms. Massa acted with the requisite
mental state for liability under Section 523(a)(4). The Court will, therefore, enter judgment
against ProForce and in favor of Ms. Massa on ProForce’s Section 523(a)(4) claim.

           2. Mr. Massa.

        ProForce offers three grounds to support a conclusion Mr. Massa was aware of
his obligations under the Trust Fund Statute and acted with the requisite intent: (1) JDE,
LLC’s 2013 lawsuit against Denver Protection Services, which included a Trust Fund
Statute violation claim; (2) Mr. Hurdle’s testimony regarding a statement Mr. Massa made
to him exhibiting a conscious disregard of the Trust Fund Statute; and (3) Mr. Hurdle’s
and others’ attempts to explain the Trust Fund Statute to Mr. Massa while the two men
worked together at JDE. The Court will address each in turn.

       First, the Court considers JDE, LLC’s 2013 lawsuit against Denver Protection
Services. Mr. Massa testified he turned the matter over to Tom Overton, a friend who
was an attorney. Mr. Overton filed a complaint on JDE, LLC’s behalf, asserting five
causes of action: breach of contract, breach of the duty of good faith and fair dealing,
negligent misrepresentation, promissory estoppel, and failure to pay construction trust
funds. Mr. Massa testified he deferred to Mr. Overton and his associates, and he did not
thoroughly review the complaint before it was filed. But even if Mr. Massa had reviewed
the complaint before it was filed, there is no evidence he paid substantial attention to the
legal assertions made in any of the five causes of action, must less to any specific cause
of action. The matter was settled quickly, with little to no further involvement on
Mr. Massa’s part. The Court cannot find the 2013 lawsuit shows Mr. Massa had familiarity
with the requirements of the Trust Fund Statute.

        Second, the Court considers Mr. Hurdle’s testimony that Mr. Massa told Mr. Hurdle
that he (Mr. Massa) could avoid liability under the Trust Fund Statute by feigning
ignorance of the Trust Fund Statute. At first, Mr. Hurdle testified this conversation took
place in January 2018, and Mr. Hurdle was certain about the time frame because he
remembered there was snow on the ground when he picked up boxes at the JDE offices.
Later, after Mr. and Ms. Massa testified Mr. Massa and Mr. Hurdle were not speaking to
each other in January 2018 when Mr. Hurdle picked up the boxes, Mr. Hurdle returned to
the virtual witness stand to testify that the conversation took place in late August or early
September of 2017, and he was certain about the time frame because he remembered
he had gone to pick up boxes of files needed for 2017 taxes. Mr. Hurdle made no attempt
to explain the discrepancy in his prior testimony that the conversation had happened in

                                             6
Case:18-01403-KHT Doc#:59 Filed:09/28/20            Entered:09/28/20 07:20:11 Page7 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

January, with snow on the ground. Mr. Massa denied such a conversation ever
happened. The Court finds Mr. Massa more credible on this issue, given the
inconsistencies in Mr. Hurdle’s testimony about the timing of the conversation, and given
Mr. Hurdle’s motivation to avoid or reduce his own liability for Trust Fund Statute violations
by placing blame on Mr. Massa. The Court cannot find Mr. Hurdle’s testimony supports
a conclusion Mr. Massa was aware of, or deliberately ignorant of, his obligations under
the Trust Fund Statute.

       Finally, the Court considers Mr. Hurdle’s and others’ attempts to explain the Trust
Fund Statute to Mr. Massa while the two men worked together at JDE. Mr. Hurdle testified
that he told Mr. Massa about his obligations under the Trust Fund Statute, and Scott
Heasty of Taylor Kohrs also brought the Trust Fund Statute to Mr. Massa’s attention. The
earliest these attempts happened was May 2017. The Court cannot find at any time prior
to May 2017 Mr. Massa was aware of the Trust Fund Statute’s requirement to keep funds
separate by project, or to hold funds in trust for subcontractors and suppliers.

       At some point beginning in May 2017, Mr. Massa’s understanding of the Trust
Fund Statute increased. Certainly by the time of trial, Mr. Massa fully understood his
obligations under the Trust Fund Statute. But, even if Mr. Massa fully appreciated his
obligations before mid-August 2017, when he sold JDE to Mr. Hurdle, the Court cannot
find Mr. Massa intended to disregard his obligations or acted with reckless disregard of
his obligations. Mr. Massa may have acted negligently when he failed to ensure funds
were held in trust for subcontractors or suppliers, but negligence is insufficient to support
nondischargeability under 11 U.S.C. § 523(a)(4). For ProForce to prevail, the Court must
find Mr. Massa consciously disregarded or was willfully blind to “a substantial and
unjustifiable risk” that his conduct would violate his fiduciary duty. Bullock v.
BankChampaign, 569 U.S. at 274. The risk “must be of such a nature and degree that,
considering the nature and purpose of the actor’s conduct and the circumstances known
to him, its disregard involves a gross deviation from the standard of conduct that a law-
abiding person would observe in the actor’s situation.” Id. Here, the Court cannot so find.

       This is not a case in which a corporate officer drained corporate accounts with
excessive spending in a manner that would likely leave subcontractors and suppliers
unpaid. Instead, this is a case in which a corporate officer believed projects would be
completed and subcontractors and suppliers paid, and he made substantial efforts to
accomplish that result. Beginning in May or June of 2017, Mr. Massa worked with
Mr. Hurdle to break out JDE’s finances by project, which the Court finds to be an effort to
bring the company into compliance with its obligations. By June or July 2017, Mr. Hurdle
and Mr. Massa were working to obtain financing, and when those efforts proved
unsuccessful, Mr. Hurdle and Mr. Massa sought to sell the company, which the Court
finds to be additional efforts to ensure subcontractors and suppliers were paid. The
evidence before the Court does not support a conclusion JDE’s situation was dire or
hopeless at any time before the sale to Mr. Hurdle. Instead, at all relevant times prior to
the sale, it appeared the company would be able to meet its obligations by the time the
projects were completed. As Scott Heasty stated in his email, “I’m certain it will all shake
out.” Mr. Massa was receiving similar messages from Mr. Hurdle and from Mr. Scott,
JDE’s Director of Electrical Operations, and he believed the obligations would be

                                              7
Case:18-01403-KHT Doc#:59 Filed:09/28/20             Entered:09/28/20 07:20:11 Page8 of 8
FINDINGS OF FACT AND CONCLUSIONS OF LAW
Adversary No. 18-01403 KHT

satisfied. The fact that Mr. Hurdle, an experienced CPA familiar with the company and
its challenges, was willing to purchase the company was some assurance the company
could be operated successfully. And while Mr. Massa could have, and should have, taken
more of a hands-on approach in running his business, the Court cannot find his actions
were inconsistent with those of a law-abiding person. Considering all the evidence before
it, the Court finds ProForce has not met its burden of proving Mr. Massa acted with the
requisite mental state for liability under Section 523(a)(4). The Court will, therefore, enter
judgment against ProForce and in favor of Mr. Massa on ProForce’s 11 U.S.C.
§ 523(a)(4) claim.

IV.    CONCLUSION

       For the reasons discussed above, the Court finds ProForce has not met its burden
of proving Mr. Massa or Ms. Massa acted with the mental state required for defalcation
under 11 U.S.C. § 523(a)(4). The Court will therefore enter a separate judgment in favor
of Debtors on ProForce’s complaint.

       IT IS SO ORDERED.

 Dated September 28, 2020                         BY THE COURT:


                                                  _________________________
                                                  _ __
                                                  __  ___
                                                        ___
                                                          ______
                                                              ________
                                                                     _ _______
                                                  Kimberley H.
                                                            H Tyson
                                                  United States Bankruptcy Judge




                                              8
